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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. CR11-159-RAJ

10          v.                                            DETENTION ORDER

11 ORLANDO OLAIS ROCHA,

12                                 Defendant.

13 Offense charged:

14          Conspiracy to Distribute Controlled Substances.
            Conspiracy to Import Controlled Substances.
15          Conspiracy to Engage in Money Laundering.
            Forfeiture Allegations.
16
     Date of Detention Hearing: June 8, 2011.
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
19
     finds that no condition or combination of conditions which the defendant can meet will
20
     reasonably assure the appearance of the defendant as required and the safety of any other person
21
     and the community.
22
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            Defendant has been indicted with drug trafficking offenses and has failed to overcome


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 1 the presumption of detention. Defendant is not a citizen of the United States and the Court

 2 received no information about defendant’s personal history, residence, family ties, employment

 3 history, or health. Because defendant is not a citizen, there is an immigration and customs

 4 detainer also holding defendant. In view of these circumstances, the defendant through counsel

 5 also stipulated to detention.

 6          It is therefore ORDERED:

 7          (1)    Defendant shall be detained pending trial and committed to the custody of the

 8 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9 from persons awaiting or serving sentences, or being held in custody pending appeal;

10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

11 counsel;

12          (3)    On order of a court of the United States or on request of an attorney for the

13 Government, the person in charge of the correctional facility in which Defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16          (4)    The clerk shall direct copies of this order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

18 Officer.

19       DATED this 8th day of June, 2011.

20

21
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
22

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     DETENTION ORDER - 2
